                     Case 1:18-cr-00025-JPJ Document 1099-1 Filed 04/23/20 Page 1 of 5 Pageid#: 14048
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    Case 1:18-cr-00025-JPJ Document 1099-1 Filed 04/23/20 Page 4 of 5 Pageid#: 14051


  HAF39 540*23 *                                SENTENCE MONITORING                     01-22-2020
PAGE 0O1       *                                  COMPUTATION DATA                      07:28:09
                                                  AS OF 01-22-2020

REGNO - : 92765-083 NAME: EATON , ELIZABETH PAULINE


FBI NO...........: 908219AC1                                   DATE OF BIRTH : 09-17-1981    AGE: 38
ARS1.............: HAF/A-DES
UNIT.............: K                                           QUARTERS .....: Kl3-1l6L
DETAINERS........: NO                                          NOTIFICATIONS : NO

HOME DETENTION ELIGIBILITY DATE : 09-23-2029

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE IS CURRENT COMMITMENT .
THE INMATE IS PROJECTED FOR RELEASE: 03-23-2030 VIA GCT REL

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                                       CURRENT JUDGMENT/WARRANT NO: O1O
COURT OF    ISDICTION ...........: VIRGINIA, WESTERN DISTRICT
DOCKET    BER...................: DVAW118CR0OO025-02O
                                   JONES
DATE SENTENCED/PROBATION IMPOSED: OS-14-2O19
DATE COMMITTED ..................: 07-16-2019
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED ...............: NO

                            FELONY ASSESS MISDMNR ASSESS FINES                      JOSTS
NON-COMMITTED.: $100.00                             $00.00        $00.00            $00.00
RESTITUTION.- : PROPERTY: NO SERVICES: NO                               AMOUNT: $00.00
- - - -- -- - -- - - -- -- - - -- - - - --   CURRENT OBLIGATION NO: 01O ---------------------------
OFFENSE CODE....: 391                          21:846 SEC 841-851 ATTEMPT
OFF/CHG: 21:846 & 841(B)(1)(A) CONSPIRACY TO DISTRIBUT; 50O GRAMS OR
              MORE OF METHAMPHETAMINE.

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.: 168 MONTHS
 TERM OF SUPERVISION ............:    5 YEARS
 DATE OF OFFENSE................: 10-23-2018




GO002               MORE PAGES TO FOLLOW
    Case 1:18-cr-00025-JPJ Document 1099-1 Filed 04/23/20 Page 5 of 5 Pageid#: 14052


  HAF39 540*23                                          SENTENCE MONITORING                *     01-22-2020
                                                          COMPUTATION DATA                 *     07 :28:09
PAGE O02 OF 002
                                                          AS OF 01-22-2020

REGNO - : 92765-083 NAME: EATON , ELIZABETH PAULINE


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COMPUTATION 010 WAS LAST UPDATED ON 07-18-2019 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 08-02-2019 BY DESIG/SENTENCE COMPUTATION CTR
THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 0l0

DATE COMPUTATION BEGAN..........: 05-14-2019
TOTAL TERM IN EFFECT ............:  168 MONTHS
TOTAL TERM IN EFFECT CONVERTED - :   14 YEARS
EARLIEST DATE OF OFFENSE........: 10-23-2018

                                                               FROM DATE      THRU DATE
                                                               01-23-2017     03-07-2017
                                                               09-17-2017     02-15-2018
                                                               05-09-2018     05-13-2018
                                                               1l-OS-2018     05-13-2019

TOTAL PRIOR CREDIT TIME.........:                            391
TOTAL INOPERATIVE TIME..........:                            0
TOTAL GCT EARNED AND PROJECTED ..:                           756
TOTAL GCT EARNED ................:                           54
STATUTORY RELEASE DATE PROJECTED :                           03-23-2030
EXPIRATION FULL TERM DATE .......:                           04-17-2032
TIME SERVED.....................:                                  l YEARS     9 MONTHS        3 DAYS
PERCENTAGE OF FULL TERM SERVED - :                             12 .6

PROJECTED SATISFACTION DATE.....: 03-23-2030
PROJECTED SATISFACTION METHOD ...: GCT REL

REMARKS.......: JUDGE ORDERED JAIL CREDIT SEE PSR #339;




G000O                  TRANSACTION SUCCESSFULLY COMPLETED
